Case 01-01139-AMC Doc 11916-2 Filed 03/01/06 Page 1 of 10

alp_132r: Matter Detail

Run Date & Time: 02/13/2006 15:19:53

Matter No:.056772-00008 fade Sy on
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE
Matter Name : FEE APPLICATIONS, APPLICANT .
Matter Opened :. 07/27/2001 : :

UNBILLED COSTS DETAIL
Description/Code

MESSENGER/COURIER FE 0932
FEDERAL EXPRESS CORPORAT .. ,
sc Rlett Rooney Lieber & Shorlin

Costs Total :

Employee | oo. / Date

KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 16
*PRIVILEGED AND CONFIDENTIAL*

“orig. Prenr’: CRED. RéTS<25.06975
Bill Prtnr : BENTLEY PHILIP - 02495
Supv Prtnr,,: MAYER THOMAS MOERS -. 03976

01/18/06

OURIER FE Total :

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Case 01-

alp_132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 17
*PRIVILEGED AND CONFIDENTIAL*
Run Date & Time: 02/13/2006 15:19:53

Matter ‘No? Proforma”: Numb

“orig prtnr sf. CREDL“RGTS 06975:

656772-00001 So on oe 8 ee EEE so
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
Matter Name : FEE APPLICATIONS, APPLICANT Supy. Prtnr : MAYER THOMAS MOERS -_03976

Matter: Opened: ' 0: 2001 -

BILLING INSTRUCTIONS FOR UNBILLED TIME SUMMARY
Employee Name .. _ , Hours Amount. W/o /- Transfer. To Cint/Mtr

ry Forward.

BECKER, GARY M. 0.30

GAVIGAN,; DAMES. C1 4590
Total: 5.20

ON BT LED Coser:

Carry. Forward

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Case 01-01139-

alp_132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 18
*PRIVILEGED AND CONFIDENTIAL*

Run Date & Time: 02/13/2006 15: 19.253

SE COR RCT 06975 forma Number

Matter No: 086773 -00012 Lath
: BENTLEY PHILIP - 02495 Bill Frequency: M

Client Name : W.R. GRACE & CO. EQUITY COMMITTEE
Matter Name : CLAIM ANALYSIS OBJECTION. & RESOLUTION (ASBESTOS)
Matter Opened: £ 07/27/2001 :

Special Billing Instructions:

UNBILLED TIME FROM: 01/09/2006 : “01/30/2006
ILLE: ROM:

PREMIUM:
ON ACCOUNT BILLED:

CLOSE MATTER /FINAL BILLING?
EXPECTED DATE OF COLLECTION:

BENTLEY PHILIP - 02495 WRITE OFF APPROVAL (necessary for write downs over $2,000.00)
BILLING. COMMENTS :

TOTAL OUTSTANDING:

DATE OF LAST BILL:
_ LAST BILL, NUMBER :

LAST BILL THRU DATE: 12/31/05 FEES WRITTEN OFF TO DATE: 4,417.50

(7) Fixed Fee
(8) Premium,

(1) Exceeded Fixed Fee
(2) Late Time. & costs Posted

BILL NUMBER: DATE OF BILL: Processed by: FRC:

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alp_132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 19
*PRIVILEGED AND CONFIDENTIAL*

Run Date & Time: 02/13/2006 15:19:53

Matter -No?056772-00022
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE
Matter Name : CLAIM ANALYSIS OBJECTION & RESOLUTION(ASBESTOS)
Matter: Operied:.: -07/27/2001 cee me

) Ordg=Prtnr 2) CREDO RGTS 2 =< 06975-- = “Broek Number: .
Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
_. Supy, Prtny ; MAYER THOMAS MOERS.

UNBIULULED TIME SUMMARY  — wnennnnenncennencenene
Emp Id Employee. Name Group. Latest

CRED 01/16/06 01/19/06
01/09/06... ss 01/39/06.
: oe {12/06

Total:

sub-Tot: I Hours. ¥ 0.20 Partners:

UNBILLED costs SUMMA

“potal:

_.», Grand. Total

UNBIULULED TIME DETAIL
Employee Name Work Date Date Task Act

BENTLEY, PHILIP 01/16/06 Review emails re asbestos
BENTLEY ,. 01/19/06. i ails re asbest

6099557 02/01/2006

tot ENTLEY 'P = .02495

BECKER, . 01/09/06 review CMO pleadings.
BECKER, review Herron. d
BECKER; : beviews revise
email Bentley
BECKER, 01/23/06 Review Fair Act . 100698 02/01/2006
3 :

BECKER,

01/30/06. review. réevis:

0 6
spéights issties and “remediation: STS

Total For BECKER G - 05292

KOEVARY, ‘JONATHAN T 01/12/062Prépare: fot/attend scheduled’ call te: Herron |
deposition.

“For KOEVARY J = 06228

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01139-

Case 01-

alp_132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 20
*PRIVILEGED AND CONFIDENTIAL*

Run’ Daté’& Time: 02/13/2001

19:54".

Proforma Number: 2046582
.Bill Frequenc

Matter No: 056772-00012 Orig Prtnr : CRED. RGTS - 06975
Client Name : W.R., GRACE & CO, EQUITY COMMITTEE Bill, prtnr
Matter ‘Namé : CLAIM -ANALYST: N jupv 3
Matter Opened. : 07/27/2001

UNBILLED TIME
Employee Name ,

Fee Total -

UNBILLUED CcosTS DETAIL
Description/Code

Employee

OUT-OF-TOWN TRAVEL
CITICORP DINERS. CLUB

BENTLEY, P
OUT-OF-TOWN TRA’ meh

0950 OUT-OF-TOWN TRAVEL Total :
Case 01-01139-AMC Doc 11916-2 Filed 03/01/06 Page 6 of 10

alp 132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 21
*PRIVILEGED AND CONFIDENTIAL*

Run Date & Time: 02/13/2006 15:19:54

Matter Noz056772-00012 Bethan ian : Orig Prt: CRED 2 RGTS 206975. : pre forma ‘Number 25
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
Matter Name.: CLAIM ANALYSIS OBJECTION & RESOLUTION(ASBESTOS) | . - AY ERS -. 03976

Matter Opened +:07:/27/200 Se Ed 2 Olt. mene EERE Se : NE

Status.

BILLING INSTRUCTIONS FOR UNBILLED TIME
Employee Name

SUMMARY
W, . ee nsfer cou GBrry, Forward

BENTLEY, PHILIP

BECKER; GARY: SL) 134-00

216.00

0950 OUT-OF-TOWN. 7

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01139-

Case 01-

alp_132r: Matter Detail

Run Date & Time: 02/13/2006 15:19:54

Mattér<No: 0567'72£000215 ES ws
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE
Matter Name : PLAN AND DISCLOSURE STATEMENT

Matter: Opened: :: 09/28/2001

Special Billing Instructions:

UNBILLED TIME FROM:
UNBILLED DISB. FR

GROSS, BILLABLE

KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 22
*PRIVILEGED AND CONFIDENTIAL*

oOrig- Briar 2° RED iT 06975: oforma Number:
Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
_ Supv Prtnr :, MAYER THOMAS. MOERS - 03976

(RY.-REPORT

AMOUNT. WRITTEN
: : PREMIUM

ON ACCOUNT BILLED:

DEDUCTED FROM PAID. RETAINER:

CLOSE MATTER/FINAL BILLING? YES
EXPECTED DATE OF COLLECTION:

BILGING PARTNER APPRO

BILLING COMMENTS

BENTLEY PHILIP - 02495 WRITE OFF APPROVAL (necessary for write downs over $2,000.00)

TOTAL OUTSTANDING:

DATE OF LAST BILL:
LAST BILL..NUMBER:

LAST BILL THRU DATE:

(1) Exceeded Fixed Fee
(2) Late Time. & Costs. Posted
(3) Pre-arranged ‘Discount.

BILL NUMBER: DATE OF BILL:

DATE:
DATE:

-POPAL FEES’ BILLED: TO”
12/31/05 FEES WRITTEN OFF TO DATE:

(7) Fixed Fee
(8) Premium.
(9) Rounding =

Processed by: FRC:

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alp 132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 23
*PRIVILEGED AND CONFIDENTIAL*

Run Date & Time: 02/13/2006 15:19:54

Matter2No: -056772¢00019 Bene te a ne : : WO Orgs Rgtng: 2 .CRED. URGTS.0/.:0 =. mS
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE Bill Prtnr : BENTLEY PHILIP - 02485 Bill Frequency: M
Matter Name : HEARINGS _Supy..Prtnr : MAYER THOMAS MOERRS - 03976

Matter Opened; 09/06/2002 ms Be

Special Billing Instructions:

UNBILLED TIME FROM: 01/30/2006
UNBILLED .DIS 12/18/2005

GROSS BILLABLE AMOUNT

ON ACCOUNT BILLED:
DEDUCTED. FROM. PAID. RETAINER:

Lae ee nS - 01/30/2006
CLOSE MATTER/FINAL BILLING? YES OR NO
_EXPECTED DATE OF COLLECTION

oBTLEING PARTNER APPROVAT

BENTLEY PHILIP - 02495 WRITE OFF APPROVAL (necessary for write downs over $2,000.00)

BILLING COMMENTS

TS” RECEIVABLE ‘TO
FEES:
DISBURSEMENT,
‘FEE -RETAINER

" DISB“RETALNE
TOTAL OUTSTANDING:

DATE OF LAST BILL: 01/31/06
LAST BILL NUMBER:

LAST PAYMENT DATE:
429349 ACTUAL FEES BILLED.
ON ACCOUNT FEES BILLED:
“ee POTAL PRES BILLED "TO" 120,78
FEES WRITTEN OFF TO DATE: 5,087.68

LAST BILL THRU DATE:

FOR ACCTG USE: ONLY:

(4) Excessive Legal Time
...,(5) Business, Development.
6) Summer. ‘Associate

(1) Exceeded Fixed Fee
(2) Late Time & Costs. Posted.
(3) Pre-arrangedDiscc

ent Arrangement.

BILL NUMBER: DATE OF BILL: Processed by: FRC: CRC:

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*PRIVILEGED AND CONFIDENTIAL*
Run Date & Time: 02/13/2006 15:19:54

Orig: Prtare:5 CRED. RGT 06975": SBE: “Proforma Number 2." "
Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
Supy Prtnr MAYER THOMAS. MOERS

Matter. No: .056772-00019 oss oie aoe
Client Name : W.R. GRACE & CO. EQUITY COMMITTEE

Total Unbilled
_, Hours

UNBIULULED TIME SUMMARY
Emp, Id Employee Name

BECKER, GARY M.

0.00 Others

“OUT-OF-TOWN: TRAVEL:

Total

“for and-appear
S hearings! 2"

Description/Code

Batch Date

OUTAOR-POWN TRAVER: 0 Us. |< 0880
CITICORP DINERS CLUB
OUT-OF-TOWN TRAVEL - VENDOR-.CLTICOR

1,162.40 7319324 371826 02/08/06

Costs Total :

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alp_132r: Matter Detail KRAMER LEVIN NAFTALIS & FRANKEL LLP PAGE 25
*PRIVILEGED AND CONFIDENTIAL*

Run Date & 02/13/2006 15:19:54

W.R. GRACE & CO. EQUITY COMMITTEE

tar’; CRED! RGTSE > 0697502 2 Se) Proforma Numbers
Bill Prtnr : BENTLEY PHILIP - 02495 Bill Frequency: M
Supy.Prtnr : MAYER THOMAS MOERS - 03976

Client Name
Matter 2
Matter

BILLING INSTRUCTIONS FOR UNBILLED
Employee Name . . Amount | Bill... Wlofh . _... Yransfer (To Clnt/Mtr

BILLED COS TS SUMMARY

